
249 P.3d 1289 (2011)
241 Or. App. 656
Charles Samuel POPE, Petitioner,
v.
BOARD OF PAROLE AND POST-PRISON SUPERVISION, Respondent.
A142511.
Court of Appeals of Oregon.
Submitted December 20, 2010.
Decided March 23, 2011.
Peter Gartlan, Chief Defender, and Meredith Allen, Senior Deputy Public Defender, and Office of Public Defense Services, filed the brief for appellant.
John R. Kroger, Attorney General, David B. Thompson, Interim Solicitor General, and Jeff J. Payne, Assistant Attorney General, filed the brief for respondent.
Before BREWER, Chief Judge, and GILLETTE, Senior Judge.
PER CURIAM.
Reversed and remanded. Janowski/Fleming v. Board of Parole, 349 Or. 432, 245 P.3d 1270 (2010).
